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                                                                           FILED IN OPEN COURT
                                                                             U.S.D.C.-Atlanta



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                   IN THE UNITED STATES DISTRICT COURT _ ^
                 FOR THE NORTHERN DISTRICT OF GEORGIA Bvv"2^S!S¥lerk
                               ATLANTA D^ISION -y-^-^- ^ cierk



   UNITED STATES OF AMERICA                     Criminal Information

           V.                                   No. 1:21-CR-356

   GLENN PAIR




THE UNITED STATES ATTORNEY CHARGES THAT:

                            Count One - 18 U.S.C. § 371
                    (Conspiracy to Commit Health Care Fraud)

        1. Beginning no later than in or about August 2017, and continuing at

least until in or about December 2018, the exact dates unknown/ in the Northern

District of Georgia and elsewhere/ the defendant/ GLENN PAIR/ Markuetric

Stringfellow/ Individual-1/ Individual-2/ Physician-1/ Laboratory-1/ and others

known and unknown/ did knowingly and willfully combine/ conspire/

confederate/ agree/ and have a tacit understanding with each other to knowingly

and willfully execute and attempt to execute a scheme and artifice to defraud

Medicaid/ which is a health care benefit program as defined in Title 18, United

States Code/ Section 24(b)/ and to obtain/ by means of materially false and

fraudulent pretenses/ representations/ and promises/ and by the omission of

material facts/ money and property owned by and under the custody and control

of Medicaid/ in connection with the delivery of and payment for health care

benefits/ items/ and services/ in violation of Title 18, United States Code/ Section

1347.




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                                    Background

At all times relevant to this Information:

       2. Defendant GLENN PAIR and certain co-conspirators operated a

program known as //Do It for the Hood" (//D4H//) in the Northern District of

Georgia and elsewhere. From approximately January 2017 until December 2018,

PAIR resided m Atlanta/ Georgia.

       3. PAIR/ Lndividual-1/ and others pitched D4H to Atlanta-area schools as

a drug-free mentoring program for high school and middle school students.

Part of D4H s program involved holding in-school rallies—known as "Cafeteria

Take-Overs" — during which PAIR and others/ including local rappers/ gave

speeches and presentations to students enrolled in the program. Students who

wished to participate in the D4H program had to submit enrollment paperwork/

which included their name/ date of birth/ and other individually identifying

information. Students provided "consent" to undergo drug testing regardless of

whether the student had any issues involving drugs or substance abuse.

      4. Individual-1 owned and operated National Lighthouse Foundation

( NLF )/ a Georgia-based non-profit through which the D4H program was

pitched to high schools. Individual-1 also sometimes participated in the D4H in-

school rallies.

      5. BPolloni Consulting LLC ("BPolloni Consulting") was a North Carolina

limited liability company that purportedly provided marketing and consulting

services.


      6. Individual-2 was the registered agent and Chief Executive Officer of

BPolloni Consulting LLC.




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      7. Laboratory-1 was a registered Georgia limited liability company based

in Atlanta/ Georgia. It provided independent laboratory testing/ including

toxicology and drug testing/ to the public.

      8. Physician-1 was licensed to practice medicine in the State of Georgia.

Physician-1 resides in the Northern District of Georgia and treats patients in

urgent care and assisted living facilities.

                          The Georgia Medicaid Program

      9. Medicaid is a health insurance program that provides for the provision

of medical care to eligible low-income families. Medicaid was established to

provide an array of health care services and benefits to those who/ due to

economic circumstances/ could not otherwise afford such health care services

and benefits. Medicaid is jointly funded by State governments and the United

States Department of Health and Human Services/ acting through the Centers for

Medicare and Medicaid Services. Medicaid is a public plan or contract/ affecting

interstate commerce/ under which medical benefits/ items/ and services are

provided to individuals. Medicaid is a "health care benefit program/" as defined

by Title 18, United States Code/ Section 24(b).

      10. In the State of Georgia/ the Georgia Department of Community Health

(//DCH//) administers Medicaid. Individuals who receive benefits under

Medicaid are referred to as "members" or "beneficiaries."

      11. In Georgia/ the delivery of Medicaid health benefits to some

beneficiaries is arranged through a program called Georgia Families/ which is a

partnership between DCH and multiple private care management organizations

(//CMOs//)/ including CareSource/ Peach State Health Plan/ Amerigroup/ and




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WellCare. Funds used to pay for services rendered by the CMOs comes/ at least

in part/ from federal funds provided by through the State s program.

      12. Georgia Medicaid also provides for the coverage of services on what is

known as a fee for service (//FFS//) basis. Under this portion of the program/

enrolled Medicaid providers bill the program directly for covered services

provided to eligible beneficiaries and receive reimbursement for such covered

services through DCH/s fiscal intermediary. To be eligible for reimbursement/

such services must be medically necessary and comply with Medicaid s policies

and procedures/ as explained below.

      13. DCH sets forth the terms that govern participation in and

reimbursement from the Georgia Medicaid program. DCH does this by

promulgating its Policies and Procedures for Medicaid/Peachcare for Kids

Provider Manuals/ which are published on a quarterly basis and made available

to providers through its Medicaid Management Information System.

      14. In order to submit bills to Medicaid for reimbursement for health care

services provided to Medicaid members/ an individual or entity must be an

approved Medicaid provider. A provider obtains this approval by applying to

Medicaid and enrolling in certain Medicaid programs or services. If the

application meets certain minimum qualifications/ Medicaid will approve the

application/ and the provider receives a unique identification number called a

 provider number." In addition/ providers must also obtain a federal

identification number/ known as a National Provider Identifier or //NPI.

      15. After receiving a provider number/ the provider may then submit bills/

known as claims/7 to Medicaid to obtain reimbursement for services provided

to Medicaid members. When a claim for reimbursement was submitted to

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Medicaid/ the provider certified that the contents of the claim were true/ correct/

and complete/ and that the claim was submitted in compliance with the laws and

regulations governing the Medicaid program/ including that the claim is for

medically necessary services that were actually performed.

      16. Georgia Medicaid defines the term "medically necessary to include the

requirement that the service is provided within generally accepted medical

practices and is appropriate and consistent with the diagnosis of the treating

physician and the omission of which could adversely affect the eligible member's

medical condition.

      17. Georgia Medicaid prohibits offering to pay or payment of

remuneration/ whether direct/ indirect/ overt/ covert/ in cash or in kind/ in return

for the referral of a Medicaid or PeachCare for Kids member.

      18. Because Georgia Medicaid is a "Federal health care program/' as

defined by statute/ federal law makes it illegal to knowingly pay or receive

remuneration/ including a kickback/ bribe/ or rebate/ to refer an individual to a

person (or business) for the furnishing or arranging for the furnishmg of any

item or service/ including laboratory services/ for which payment may be made

in whole or in part under a Federal health care program.

      19. Laboratory service providers must also comply with various rules and

regulations promulgated by DCH/ including the requirement that laboratories

bill Georgia Medicaid only for services requested by an attending or consulting

physician/ or another medical practitioner operating in a similar capacity and

who is separately enrolled in the program.




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                                Manner and IVIeans

   20. Beginning on a date unknown/ but no later than in or about July 2017 and

continuing until at least in or about December 2018, GLENN PAIR and his co-

conspirators devised a scheme to defraud Georgia Medicaid by sending urine

samples obtained from students participating in D4H/s mentoring program to

Laboratory-1 for drug testing in exchange for kickbacks paid from claims

submitted to Georgia Medicaid/ knowing that these were medically unnecessary

drug tests.

   21. PAIR and his co-conspirators enrolled schools into D4H/s program

through NLF. Frequently, Individual-1 introduced D4H into the schools through

NLF. Individual-1 received several thousands of dollars to facilitate the

introductions and insisted upon continued payments so long as the kickback

agreement existed between D4H/ BPolloni Consulting/ and Laboratory-1.

   22. PAIR and his co-conspirators/ includmg Individual-2/ by and through

BPolloni Consulting/ paid local college students to staff DH4/s programs.

Individual-2 and the college kids were responsible for signing up students at

schools—focusing in particular on those who were Medicaid eligible—and going

to the students' homes to ensure the students and their parents completed the

necessary paperwork. The students also routinely assisted Individual-2 by

collecting the urine samples from the students at the schools/ as well as at their

homes on occasion.


   23. PAIR and his co-conspirators recruited Physician-1 to be affiliated with

D4H as its "Medical Director" and paid Physician-1 a monthly retainer of $3/000

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to serve in that role. The purpose of recruiting and paying Physician-1 was for

Physician-1 to provide a "standing order'7 under which Laboratory-1 could


submit urine samples for drug testing to Georgia Medicaid and list Physician-1

as the ordering physician. The "standing order was maintained on file by

Laboratory-1 which purported to certify the medical necessity of every urine

specimen received through D4H for drug testing.

   24. Physician-1 did not have a physician—patient relationship with the

students and was not their attending/ treating/ or consulting physician as

required by Georgia Medicaid Policies & Procedures. Physician-1 never

examined any of the students participating in D4H/s programs. Nor did

Physician-1 ever conclude that drug testing was medically necessary for any of

these students. Physician-1 never reviewed the results of any drug screens

performed and never discussed the findings of any drug screens with the

individual students.

   25. PAIR and his co-conspirators entered into an arrangement with


Laboratory-1 to perform the drug testing on urine specimens submitted in the

names of students participating in D4H/s programs. Specifically/ PAIR and

certain co-conspirators/ including Lndividual-2/ entered into a purported

"marketing agreement" between Laboratory-1 and BPolloni Consulting to

facilitate kickback payments from Drug Company-1 to PAIR and his co-

conspirators for the drug testing referrals for all of the samples obtained through

the D4H program. BPolloni Consulting did not provide any marketing or

consulting services for Laboratory-1.

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   26. PAIR and his co-conspirators negotiated with Laboratory-1 how they

would be compensated for providing the urine samples for the medically

unnecessary testing. All payments were routed through BPolloni Consulting

under the guise that it was for services performed under the terms of the

"marketing agreement." In reality/ the payments represented a percentage of the


reimbursements received from Georgia Medicaid for the samples obtained

through the D4H program.

   27. PAIR and his co-conspirators would submit and cause others to submit

the urine specimens to Laboratory-1 for medically unnecessary drug testing.

Laboratory-1 m turn submitted claims to Georgia Medicaid for the medically

unnecessary drug testing. Laboratory-1 knew that the samples received from

PAIR and his co-conspirators came from the various Atlanta-area schools and

also knew that the "orders" related to Physician-1.


   28. In order to further conceal the illegal nature of their arrangement/

Laboratory-1 issued 1099s for tax years 2017 and 2018 to BPolloni Consulting

showing that Laboratory-1 paid BPolloni Consulting more than $250/000.

   29. As a result of the above-described conspiracy and scheme to defraud/


PAIR/ Laboratory-1/ and other co-conspirators defrauded and attempted to

defraud Georgia Medicaid of more than $1 million and actually caused Georgia

Medicaid to pay out at least $400/000 in fraudulently submitted drug testing

claims.




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                                        Overt Acts

   30. In order to carry out the conspiracy and to accomplish the objects thereof/

GLENN PAIR and known and unknown members of the conspiracy committed

various overt acts in the Northern District of Georgia/ including/ but not limited

to/ the following:

      a. In or about summer 2017, PAIR/ Stringfellow/ and others met with

         Physician-1 on multiple occasions/ including at a restaurant in Marietta/

         Georgia to explain the D4H program and recruit Physician-1 to serve as

         its "medical director."


      b. On or about August 15, 2017, NLF and Physician-1 entered into a

         memorandum of understanding under which Physician-1 was

         purportedly responsible for/ among other things/ working with at-risk

         youth/ providing clinical oversight/ and sigrdng-off on standing orders.

         Under this memorandum of understanding/ Physician-1 received


         $3/000 per month. PAIR was identified as a representative of NLF in the

         memorandum of understanding.

      c. On or about August 15, 2017, Physician-1 completed Laboratory-1's

          New Account & Preferred Order Forms. The form included a

         "standing order" in which Physician-1 falsely represented that urine

         drug screening was medically necessary for his patients. The "standing

         order/7 however/ is undated/ and did not relieve Physician-1 of his duty

         to actually order all tests.




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   d. On or about December I/ 2017, Laboratory-1 and BPolloni Consulting

      entered into a purported "marketing and sales agreement" in an effort


      to disguise the basis of the illegal kickback payments between the

      parties.


   e. On or about December 6/ 2017, Individual-2 executed a direct deposit

      authorization form with Laboratory-1 on behalf of BPolloni Consulting/

     which directed to what bank account the kickback payments should be

      made.


  f. On or about August I/ 2018, Laboratory-1 and BPolloni Consulting

      entered into a second purported "marketing and sales agreement/7

     Individual-2 executed the agreement on behalf of BPolloni Consulting.

  g. On or about October 19, 2018, the COO of Laboratory-1 emailed PAIR

     and Individual-2 regarding a complaint from a student's parent about

     an unauthorized drug test.

  h. On or about November 28,2018, the COO of Laboratory-1 emailed

     PAIR and Individual-2 regarding an audit by Medicaid CMO WellCare

     (//WellCare audit7') relating to drug testing claims submitted on behalf

     of more than 150 patients.

  i. On or about November 28, 2018, the CEO and President of Laboratory-1

     emailed PAIR and Individual-2 regarding the WellCare audit.

  j. On or about December 12, 2018, m connection with WellCare audit/

     Laboratory-1 faxed to Physician-1 a cover letter dated November 28,




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          2018 and a list of individuals for whom Physician-1 purportedly

          ordered drug testing.

      k. In or about December 2018, Physician-1 signed a letter addressed to

          WellCare that was drafted by Laboratory-1 and printed on Laboratory-

          l/s letterhead falsely representing the medical necessity of the drug

          testing of the "patients/7 who were actually students participating in

          the D4H program. A senior-level employee of Laboratory-1 personally

          handed Physician-1 the letter to sign.

      1. Physician-1 signed the letter falsely claiming that all the individuals

          identified by the WellCare audit list were Physician-1's patients and for

         whom medical records existed/ when in fact none did so.


      m. Between in or about September 2017 and in or about November 2018,

         Physician-1 received at least $30/000 from PAIR and his co-conspirators

         without performing any legitimate medical services.

      All in violation of Title 18, United States Code/ Section 371.

                                     Forfeiture

   31. Upon conviction of the offense alleged in Count One of this Information/

the defendant/ GLENN PAIR/ shall forfeit to the United States/ pursuant to Title

18, United States Code/ Section 982(a)(7)/ any and all property/ real or personal/

constituting and derived/ directly or indirectly/ from proceeds traceable to the

offense/ including but not limited to the following:




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            a. MONEY JUDGMENT: A sum of money in United States currency
                 equal to the amount of proceeds the defendant obtained as a result
                 of the offense for which the defendant is convicted.

   32. If/ as a result of any act or omission of the defendant/ any property subject

to forfeiture:

            a. cannot be located upon the exercise of due diligence;

            b. has been transferred or sold to/ or deposited with/ a third party;

            c. has been placed beyond the jurisdiction of the Court;

            d. has been substantially diminished in value; or

            e. has been commingled with other property which cannot be divided

                 without difficulty;

the United States intends, pursuant to Title 21, United States Code/ Section

853(p)/ as incorporated by Title 18, United States Code/ Section 982(b)/ to seek

forfeiture of any other property of the defendant up to the value of the forfeitable

property.


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